~AO 245C     (Rev, 12/03) Amended Judgment in a Criminal Case                                                               (NOTE: Identify Changes with Asterisks (0»
   "ICED     Sheet I


                                            UNITED STATES DISTRICT COURT
                             Eastern                                     District of                                     North Carolina

           UNITED STATES OF AMERICA                                                   AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
                DOUGLAS T. ROBERTS, 11                                                Case Number: 5:09-CR-324-1 F
                                                                                      USM Number: 52207-056
Date of Original Judgment:                6/11/2010                                   TYRAN JAMAIL GEORGE
(Or Date of Last Amended Judgment)                                                    Defendant's Attorney

Reason for Amendment:
o Correction of Sentence on Remand (18 U,S,c. 3742(1)(1) and (2»                      o Modification of Supervision Conditions (18 U.S.c. §§ 3563(c) or 3583(e»
o Reduction of Sentence for Changed Circumstances (Fed, R, Crim,                      o Modification of Imposed Term of Imprisonment for Extraordinary and
  p 35(b))                                                                              Compelling Reasons (18 U.S.c. § 3582(c)(I»
o Correction of Sentence by Sentencing Court (Fed, R, Crim, P, 35(a»                  o Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
~ Correction of Sentence for Clerical Mistake (Fed, R, Crim. P. 36)                        to the Sentencing Guidelines (18 U.S.c. § 3582(c)(2»

 page 6- (fine removed)                                                               o Direct Motion to District Court Pursuant 0 28 U.S,c. § 2255 or
                                                                                        o 18 U,S.c. § 3559(c)(7)
                                                                                      o Modification of Restitution Order (18 U.S.c. § 3664)
TIJE DEFENDANT:
!if pleaded guilty to count(s)          ONE - FOUR (INDICTMENT)
o pleaded nolo contendere to count(s)
     which was accepted by the court.
o was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                                  Offense Ended
 18 U.S.C. § 371                            Conspiracy to Commit Robbery in the Special Maritime and Territorial                  7/29/2009             1
                                            Jurisdiction

 18 U.S.C. §§ 2111 and 2                     Robbery in the Special Maritime and Territorial Jurisdiction and Aiding              7/29/2009             2&4
                                             and Abetting

       The defendant is sentenced as provided in pages 2 through                       7         of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o The defendant has been found not guilty on count(s)
~ Count(s)                  FIVE                               ~ is    0 are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                6/21/2010
                                                                                Date of Imposition of Judgment




                                                                                                                                      Senior US District Judge
                                                                                      Name of Judge                                   Title of Judge
                                                                                       6/21/2010
                                                                                      Date




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AO 245C     (Rev, 12/03) Amended Judgment in a Criminal Case
  NeED      Sheet I A                                                                         (NOTE: Identify Changes with Asterisks (0»

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DEFENDANT: DOUGLAS T. ROBERTS, II
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                                          ADDITIONAL COUNTS OF CONVICTION

Title & Section                 Nature of Offense                                     Offense Ended


18 U.S.C. §§ 924(c)(1)           Brandishing a Firearm During and in Relation to a     7/29/2009                     3
(A) and 2                        Crime of Violence and Aiding and Abetting




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 AO 245C      (Rev. 12/03) Amended Judgment in a Criminal Case
 NeED         Sheet 2 -- Imprisonment                                                                        (NOTE: Identify Changes with Asterisks (0»

                                                                                                          Judgment -          3_
                                                                                                                       Page _ _       of         7
 DEFENDANT: DOUGLAS T. ROBERTS, II
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                                                                 IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of

147 MONTHS·
Count 1 • 60 months; Count 2 • 63 months; Count 3 • 84 months· consecutive to counts 1, 2, 4.
Count 4 • 63 months
 r;t The court makes the following recommendations to the Bureau of Prisons:
THE COURT RECOMMENDS THAT THE DEFENDANT RECEIVE INTENSIVE DRUG TREATMENT & PARTICIPATE IN
VOCATIONAL TRAINING WHILE INCARCERATED,


 riI The defendant is remanded to the custody of the United States Marshal.
 D The defendant shall surrender to the United States Marshal for this district:
        D     at                                       D     a.m   D     p.m.        on

        D     as notified by the United States Marshal.

 D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

        D     before 2 p.m. on

        D     as notified by the United States Marshal.

        D     as notified by the Pro,bation or Pretrial Services Office.



                                                                       RETURN
 I have executed this judgment as follows:




        Defendant delivered on                                                              to

 at                                                          with a certified copy of this judgment.




                                                                                                       UNITED STATES MARSHAL


                                                                                By                                                                   _
                                                                                                 DEPUTY UNITED STATES MARSHAL




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AO 245C      (Rev. 12/03) Amended Judgment in a Criminal Case
   NeeD      Sheet 3 - Supervised Release
                                                                                                           Judgment-Page      4     of         7
DEFENDANT: DOUGLAS T. ROBERTS, II
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                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

  3 years as to counts 1, 2 & 4 and 5 years as to count 3 • All terms shall run concurrently.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any' unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ani:! at least two periodic drug tests
thereafter, as determined by the court.
o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
~      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

fit The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
o The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments stieet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from[Z)excessive      n
                                                          any use of alcohol and shall not purchase, possess, use, distribute, or administer
          any controlled substance or any paraphemalia.re1ated to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observei:! in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ,Personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.



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AO 245C    (Rev. 12/03) Amended Judgment in a Criminal Case
  NeED     Sheet 3C - SupervIsed Release                                                       (NOTE: Identify Changes with Asterisks (0))

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DEFENDANT: DOUGLAS T. ROBERTS, II
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                                       SPECIAL CONDITIONS OF SUPERVISION

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
office.

The defendant shall provide the probation office with access to any requested financial information.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

The defendant shall participate as directed in a program approved by the probation office for the treatment of narcotic
addiction, drug dependency, or alcohol dependency which will include urinalysis testing or other drug detection measures
and may require residence or participation in a residential treatment facility.

The defendant shall participate in a program of mental health treatment, as directed by the probation office.

The defendant shall consent to a warrantless search by a United States Probation Officer or, at the request of the
probation officer, any other law enforcement officer, of the defendant's person and premises, including any vehicle, to
determine compliance with the conditions of this judgment.

The defendant shall participate in a vocational training program as directed by the probation office.

The defendant shall not go on or enter the Fort Bragg Military Reservation or Pope Air Force Base.




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 AO 245C      (Rev. 12/03) Amended Judgment in a Criminal Case
 NeED         Sheet 5 ._. Criminal Monetary Penalties                                                            CNOTE: Identify Changes with Asterisks C*))

                                                                                                                              6_of
                                                                                                            Judgment - Page _ _                     7
DEFENDANT: DOUGLAS T. ROBERTS, II
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                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                       Assessment                                             Fine                               Restitution
 TOTALS             $ 400.00                                             $      *                              $ 720.00


 o The determination of restitution is deferred until- - - - - . An Amended Judgment in a Criminal Case (AO 245C) will be
        entered after such determination.

 o The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately [!mportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                          Total Loss·                Restitution Ordered      Priority or Percentage
Casey Rogers                                                                          $200.00                   $200.00

Jordan Shiffler                                                                       $500.00                   $500.00

State Employee's Credit Union                                                           $20.00                   $20.00




 TOTALS                                                             $                   720.00      $            720.00
                                                                                                     -------
 o      Restitution amount ordered pursuant to plea agreement $                                         _

 o      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(t). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

 ~      The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

        ~ the interest requirement is waived for           0     fine        ~ restitution.    *
        o the interest requirement for             o fine          o restitution is modified as follows:

 ... Findings for the total amount oflosses are required under Chapters 109A, 110, I lOA, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.




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AO 245C      (Rev. 12/03) Amended Judgment in a Criminal Case
  NeED       Sheet 6 - Schedule of Payments                                                                            (NOTE: Identify Changes with Asterisks (0))

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DEFENDANT: DOUGLAS T. ROBERTS, II
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                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shaH be due as foHows:

i\    0    Lump sum payment of $                               _ due immediately, balance due

           o not later than                                            , or
           o in accordance with 0 C, o D, 0                            E,or      OF below; or

B     0    Payment to begin immediately (may be combined with                   0 C,          0 D, or       OF below); or

C     0    Payment in equal                  (e.g., weekly, monthly, quarterly) instaHments of $                       over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D     0    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     0    Payment during the term of supervised release will commence within              (e.g., 30 or 60 days) after release from
           imprisonment. The court wiH set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     ¥f Special instructions regarding the payment of criminal monetary penalties:
          The special assessment & restitution shall be due in full immediately. However, if the defendant is unable to pay in full immediately, the special
          assessment and restitution may be paid through the Inmate Financial Responsibility Program. The court, having considered the defendant's financial
          resources and ability to pay, orders that any balance still owed at the time of release shall be paid in installments of $50 per month to begin 60 days
          after the defendant's release from prison. At the time of the defendant's release, the probation officer shall take into consideration the defendant's
          ability to pay the restitution ordered and shall notify the court of any needed modification of the payment schedule.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. AH criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shalI receive credit for all payments previously made toward any criminal monetary penalties imposed.




¥f Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
      corresponding payee, if appropriate.
     DERRICK HOLSTON - 5:09-CR-324-2F, $720.00 sentenced 6/11/2010




D The defendant shall pay the cost of prosecution.
o The defendant shaH pay the foHowing court cost(s):
o The defendant shaH forfeit the defendant's interest in the foHowing property to the United States:

Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


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